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Pro Se 14 (Rcv_ II!]G} Complaint for Violntion ofCivi] Rights (Prisoncr)

UNITED STATES DISTRICT CC)URTn `

for the
Middle District ofFlorida

disc 1515 m 11,11‘1': Division
Case No. 3'. \`%“~(N, $$;\5' -U-$m?’

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Defendan!(.s‘)
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names ofol! the defendants cannofj?r in the space above, please
wrer “see attached ” fn the space and attach an additional page
with wequ list ofnomes. Do not include addresses here.)

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COMPLA]NI` FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

 

NOTICE

Federal Rules of Civil Procedure 5. 2 addresses the privacy and security concerns resulting from public access to
electronic court tiles. Under this rule papers filed with the court should not contain: an individual’ s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’e
birth; a minor’s initials; and the last four digits ofa financial account number.

Except as noted in this forrn, plaintiff need not send exhibits, aftidavits, grievance or witness statements, or any
other materials to the Clerk’s Oft`lce with this complaint

in order for your complaint to be tiled, it must be accompanied by the filing fee or an application to proceed' in
forma pauperisl

 

 

 

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Pro Sc 14 (Rev. 121"16] Cornp|aint for Violation ofCivil Rights (Prisoncr}

I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint Attach additional pages if

needed.

Name

All other names by which
you have been known:

ID Numbcr

Current Institution
Addrcss

B. The Defendant(s)

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Cr'ry State Z:'p Code

Provide the information below for each defendant named in the compiaint, whether the defendant is an
ind ividual, a government agency, an organization or a corporationl Make sure that the defendant(s)
listed below are identical to those contained in the above caption. For an individual defendant, include
the person’sjob or title (g‘fknown) and check whether you are bringing this complaint against them in their
individual capacity or official capacity, or both. Attach additional pages if needed.

Dct`endant No. l
Name
JOb OI‘ Title (rfknown,l
Shield Nuntber
Employer
Addrcss

Defendant No. 2
Namc
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Defendant No. 3 r~ id €_V~

Name ©FC . €;W,

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Shield Number

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Defendant No. 4

Name 0 l:C-' A`m(\i.(`i

 

 

 

 

 

 

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Individual capacity U Ot`iicial capacity
II. Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].’1 Under Bivens v. Six Unlcnown Named Agents of
Federo! Bureou of Norcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A. Are you bringing suit against (check all that apply):
l:l recess omaha (a sam claims

w State or local officials (a § 1983 ciaim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. Ifyou are suing under section 1983, what

federal constitutional or statutory right(s) do you claim isiare being violated by state or local oftieials?
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C. Plaintiffs suing under Bt`vens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim isiare being violated by federal
officials?

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D. Section 1933 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. lf you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

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NLFV ' ilbv\lil’lc}] ?Ui 11"'\` ll Wl"Ot‘P(i(D;/’l€$' 09 police
III. Prisooer Status '

lndicate whether you are a prisoner or other confined person as follows (check all ram apply):

Pretrial detainee

Civilly committed detainee
lmmigration detainee

Convicted and sentenced state prisoner

Convicted and sentenced federal prisoner

§§El[l@[l

Other explain 5'1'13.'13€ ‘1]91&13@1\1@1& @Qccie,vw&e> t\/\e<\t'i' 1‘11_ mean-mmch

IV. Statement of Claim

State as briefly as possible the facts of` your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A. If the events giving rise to your claim arose outside an institution, describe where and when they arose.

 

B. lf the events giving rise to your claim arose in an institution, describe where and when they arosc.

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VI.

C. What date and approximate time did the events giving rise to your claim(s) occur?

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D. What are the facts underlying your claim(s)? (For example What happened to you? Who did whnt?

Wos anyone else involved? Who else saw what hoppened?) -I”_ L,L_')qg T,»h._,)g l gaqu UU l _{{d
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Inju ries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical

treatment, if any, you required and did or did not receive. §-r D §§ ij _

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Relief

State brief1y what you want the court to do for you. Mal<e no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and!or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

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VII.

Exhaustion of Administrative Rem edies Administrative Procedures

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 199'?e(a), requires that “[n]o action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federai law, by a prisoner confined
in any jail, prison, or other correctional facility until such administrative remedies as are available are
exhausted.”

Administrative remedies are also known as grievance procedures Your case may be dismissed if you have not
exhausted your administrative remedies.

A.

Did your claim(s) arise while you were confined in ajail, prison, or other correctional facility?

,El Yes
ij No

If yes, name the jaii, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

(Du\/Ct\ Cc:stnlaj ?re“-ijr let Delervqtm Qe.al\ee_

Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
procedure?

E\Yes
l:l No
l:l Do not know

Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
cover some or all of your claims?

Yes
l:| No

m Do not know

Ifyes, which claim(s)?

 

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D. Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
concerning the facts relating to this complaint?

® Yes
l:| No

If no, did you file a grievance about the events described in this complaint at any otherjail, prison, or
other correctional facility?

l:| Yes
§ No

E. Ifyou did tile a grievance:

l. Where did you tile the grievance?

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2. What did you claim in your grievance?

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3. What was the result, if any?

NONE

 

4. What steps, if any, did you take to appeal that decision? Is the grievance process completed? lf
not, explain why not. (Descrr`be all eforts to appeal 10 the highest level afthe grievance process.)

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F. Ifyou did not tile a grievance:

1. If there are any reasons why you did not tile a grievance, state them here:

tim

 

2. lf you did not file a grievance but you did inform officials of your claim, state who you informed,
when and how, and their response, if any:

_/\f{'l”\`

G. Please set forth any additional information that is relevant to the exhaustion of your administrative
remedies

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Wate: You may attach as exhibits to this complaint any documents related to the exhaustion afyaur
administrative remedies.)

VIIl. Previous Lawsuits
The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court without paying
the filing fee if that prisoner has “on three or more prior occasions, while incarcerated or detained in any facility,
brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger of serious physical injury.” 28 U.S.C. § 1915(g).

To the best of your imowledge, have you had a case dismissed based on this “three strikes rule”?

l:l Yes
B- No

lt`yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possiblel

 

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A. I-lave you filed other lawsuits in state or federal court dealing with the sarne facts involved in this
action?

l:l Yes
W No

B. If your answer to A is yes, describe each lawsuit by answering questions l through 'l below. (lf there is
more than one lawsuit describe the additional lawsuits on another page, using the same format.)

l. Parties to the previous lawsuit
Plaintiff(s)
Defendant(s)

 

 

2. Court ptfjederal court, name the district,' ifstate coart, name the county and State)

 

3. Docket or index number

 

4. Name of Judge assigned to your case

 

5. Approximate date of filing lawsuit

 

6. ls the case still pending?

ij Yes
|:l No

Ii` no, give the approximate date of disposition

 

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in yoarfavor? Was the case appealed?)

 

C. l-lave you filed other lawsuits in state or federal court otherwise relating to the conditions of your

imprisonrnent?
tva
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l:| Yes
I:l No

D. if your answer to C is yes, describe each lawsuit by answering questions l through ”t below. (y” there is
more than one lawsuit, describe the additional lawsuits on another page using the same format )

1. Parties to the previous lawsuit
Plaintiff(s)

 

Defendant(s)

 

2. Court (ifjederal court, name the district,' if state coart, name the county and State)

 

3. Docket or index number

 

4. Name of Judge assigned to your case

 

5. Approximate date of filing lawsuit

 

6. ls the case still pending?

l:l Yes
|:l No

If no, give the approximate date of disposition

 

’t. What was the result of the case? (F or example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

 

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IX.

Certii'tcation and Closing

Under Federal Rule of Civil Procedurc l l, by signing below, l certify to the best of my knowledge, infon'nation,
and belief that this complaint: (l) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying1 or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery', and (4) the complaint otherwise complies with the
requirements of Rule ll.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case_related papers may be

served. l understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date ofsigning: 5_'/ f / ‘l-Ol<;z_,

signatureorrlaimtfr /(Mé,; /O )[`) _.~

Printed Name of Plaintiff %Q`S~}-E__'N D [')O U-lS-.

 

 

 

Prison identification # j z§¢§gg¢;j
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B. For Attorneys

Date of signing:

 

Signature of Attorney

 

Printed Name of Attomey

 

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Name ofLaw Firm
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